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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
JARROD D. MASSEY                   )           (WO)



                                ORDER

    It is ORDERED that defendant Jarrod D. Massey’s

motion for release (Doc. No. 1774) is set for hearing on

August 31, 2011, at 11:00 a.m. in the Frank M. Johnson

Jr. United States Courtroom 2FMJ, One Church Street,

Montgomery, Alabama.        The government is to arrange for

the presence of defendant Massey.

    DONE, this the 30 day of August, 2011.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
